Case 1:22-mj-00691-JRS Filed 06/23/22 Page 1 of 7 Document 1
Case 1:22-mj-00691-JRS Filed 06/23/22 Page 2 of 7 Document 1
Case 1:22-mj-00691-JRS Filed 06/23/22 Page 3 of 7 Document 1
Case 1:22-mj-00691-JRS Filed 06/23/22 Page 4 of 7 Document 1
Case 1:22-mj-00691-JRS Filed 06/23/22 Page 5 of 7 Document 1
Case 1:22-mj-00691-JRS Filed 06/23/22 Page 6 of 7 Document 1
Case 1:22-mj-00691-JRS Filed 06/23/22 Page 7 of 7 Document 1
